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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

FAIRLY ODD TREASURES, LLC,

                                                               Civil Action No.: 1:20-cv-01386
Plaintiff,
                                                                Judge Charles P. Kocoras
v.
                                                               Magistrate Judge Sidney I. Shenkier
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,


Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                 172                                electronichome2016
                 152                                     6godwater
                 153                                  9enjoyshopping
                 167                                  careforyou123
                 173                                elektroniklieben66
                 182                                 happyeasybuy04
                 202                                     simitter02
                 204                                    smttrade05
                 216                                  welcomeacross9
                 237                                Fashion_show2017
                 178                                    gelivable.2u
                 155                                    abala.coco
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            161                               bag2ue6tte
            191                               newface11
            208                          supermarket8882016
            209                             taoyoumehgfd
            214                            topwardrobe2014
            217                             wi3ndbre1aker



DATED: June 26, 2020                 Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-01386 Document #: 39 Filed: 06/29/20 Page 3 of 3 PageID #:1459




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 26, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
